          Case 24-11448-amc                          Doc          Filed 02/14/25 Entered 02/14/25 16:04:14        Desc Main
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bkf




      Fill in this information to identify the case:

       Debtor 1        Anthony J. Costanzo

       Debtor 2       Kimberly A. Katchen-Costanzo

       United States Bankruptcy Court for the: Eastern District of Pennsylvania

       Case number :         24-11448-amc


Official Form 410S2
Notice of Postpetition Mor tgage Fees, Expenses, and Charges 12/16
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


      Name of               US Bank Trust National Association, Not In Its Court claim no.                                         19
      creditor:             Individual Capacity But Solely As Owner Trustee For (if known):
                            VRMTG Asset Trust
      Last 4 digits of any number
      you use to identify the                                               7692
      debtor's account:
      Does this notice supplement a prior notice of postpetition fees,
      expenses, and charges?
            [X] No
            [ ] Yes. Date of the last notice.

  Part 1:         Itemize Postpetition Fees, Expenses, and Charges



 Itemize the fees, expenses, and charges incurred on the debtor's mortgage
 account after the petition was filed. Do not include any escrow account
 disbursements or any amounts previously itemized in a notice filed in this
 case. If the court has previously approved an amount, indicate that approval
 in parentheses after the date the amount was incurred.

        Description                                                                              Dates incurred           Amount

       Late Charges                                                                                               $0.00
       Non-sufficient funds (NSF) fees                                                                            $0.00
       Attorney Fees                                                                                              $0.00
       Filing fees and court costs                                                                                $0.00
       Bankruptcy/Proof of claim fees                                                                             $0.00
       Appraisal/Broker`s price opinion fees                                                                      $0.00
       Property Inspection Fees                                                                                   $0.00
       Tax Advances (Non-Escrow)                                                                                  $0.00
       Insurance Advances (Non-Escrow)                                                       10/09/2024           $2,568.14
       Property preservation expenses. Specify:                                                                   $0.00
       Other. Specify: Plan Review Fees                                                                           $0.00
       Other. Specify: 410A Fee                                                                                   $0.00
       Other. Specify: Objection to Confirmation                                                                  $0.00
       Other. Specify:                                                                                            $0.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1332(b)(5) and Bankruptcy Rule 3002.1.
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Debtor 1 Anthony J. Costanzo                         ________               Case Number: 24-11448-amc
                First Name             Middle Name              Last Name




Part 2:          Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address
 and telephone number.

Check the appropriate box:

[ ] I am the creditor.
[X] I am the creditor's attorney or authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of
my knowledge, information, and reasonable belief.


     /s/ Joshua I. Goldman                                                                 2/11/25
                                                                                    Date
    Signature


                   Joshua I. Goldman
Print:            __________________________________                                Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                     Email       PLGinquiries@padgettlawgroup.com
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                                      IN THE UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF PENNSYLVANIA
                                               PHILADELPHIA DIVISION

In Re;
 Anthony J. Costanzo                                                  Case No.: 24-11448-amc
 Kimberly A. Katchen-Costanzo
Debtor(s)                                                             Chapter: 13

                                                  CERTIFICATE OF SERVICE


 I, hereby certify that on 02/14/2025, a true and correct copy of the foregoing document was served via United States Mail with ade-
                                quate prepaid postage and/or electronically via the Court’s ECF system:


Service by U.S. First Class Mail

Debtor
Anthony J. Costanzo
532 S Taney St
Philadelphia, PA 19146-1045

Co-Debtor
Kimberly A. Katchen-Costanzo
532 S Taney St
Philadelphia, PA 19146-1045

By Electronic Mail
Attorney for Debtor
MICHAEL A. CIBIK
Cibik Law, P.C.
1500 Walnut Street
Suite 900
Philadelphia, PA 19102

Trustee
SCOTT F. WATERMAN [Chapter 13]
Chapter 13 Trustee
2901 St. Lawrence Ave.
Suite 100
Reading, PA 19606

US Trustee
United States Trustee
Office of United States Trustee
Robert N.C. Nix Federal Building
900 Market Street
Suite 320
Philadelphia, PA 19107

                                                                       Joshua I. Goldman
                                                                /s/
                                                                      Joshua I. Goldman
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0PAYEE CODE              PLHAZ
 PAYEE NAME              PROCTOR LOAN PROTECTOR
 & ADDRESS
               700 TOWER DR SUITE 400
               TROY                MI 48098

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LOAN-NO                 SHORT                     VENDOR PAYEE                        TRAN DUE                              AMOUNT
              INIT NAME                      DESCRIPTION                       CODE DATE                               DUE
------------------------------------------------------------------------------------------------------------------------------------
                  COSTANZO                                                            2568.14
       532 S TANEY ST                   PHILADELPHIA               PA 19146

                       FAY SERVICING, LLC    10/09/24
                MACHINE DISBURSEMENT CHECK VOUCHER
